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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                       Criminal No. 98-137(2)(DSD)

United States of America,

                   Plaintiff,

v.                                                             ORDER

Jose Luis Villanueva Monroy,

                   Defendant.



     Andrew S. Dunne, United States Attorney’s Office, 300 South 4th
     Street, Suite 600, Minneapolis, MN 55415, counsel for
     plaintiff.

     Jose Luis Villanueva Monroy, #10752-041, FCI-Fort Dix, P.O.
     Box 38 West 5812, Fort Dix, NJ 08640, defendant pro se.



     This matter is before the court upon the pro se motions by

defendant Jose Luis Villanueva Monroy to reduce his sentence

pursuant to 18 U.S.C. § 3582(c)(2) and to appoint counsel.               On May

19, 2003, Monroy pleaded guilty to Count 1 of the Fifth Superseding

Indictment alleging conspiracy to distribute methamphetamine, in

violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 846.

     The   court    may   modify   a   term   of   imprisonment        when   the

Sentencing Commission subsequently lowers a sentencing range.                 18

U.S.C. § 3582(c).     In 2014, the Sentencing Commission promulgated

Amendment 782, which retroactively reduces the base offense level

for many drug offenses by two levels.              See U.S.S.G. §§ 1B1.10,

2D1.1(c); id. App. C, Amend. 782. However, the court cannot reduce

a sentence if the defendant was not “sentenced to a term of
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imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission.”                     18 U.S.C. § 3582(c)(2);

Dillon v. United States, 560 U.S. 817, 826 (2010).

     At sentencing, Monroy was held accountable for 55 kilograms of

methamphetamine, which resulted in a base offense level of 38.

U.S.S.G. § 2D1.1.            Monroy received a four-level enhancement for

being    a    leader    of    the   criminal         activity,   and     a   three-level

reduction for acceptance of responsibility.                   U.S.S.G. §§ 3D1.1(b),

3E1.1.       With a total offense level of 39 and a criminal history

category of I, Monroy’s advisory guideline range of imprisonment

was 262 to 327 months.           The court sentenced Monroy to 290 months’

imprisonment.

     Even considering Amendment 782, Monroy still has a base

offense level of 38 because his crime involved 45 kilograms or more

of methamphetamine.           See U.S.S.G. § 2D1.1.              Thus, Amendment 782

does not lower Monroy’s offense level or sentencing range, and the

court lacks the legal authority to reduce his sentence.                        18 U.S.C.

§ 3582(c)(2) (stating that a court may reduce a defendant’s

sentence      if   it    is    “based   on       a    sentencing     range     that    has

subsequently been lowered by the Sentencing Commission”); see

United   States     v.    Wanton,    525     F.3d      621,   622   (8th     Cir.     2008)

(affirming the district court’s denial of § 3582(c)(2) relief

because the offense level based on the amount of drugs involved did

not change after the amendment); United States v. Woodson, No. 08-


                                             2
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2022, 280 F. App’x 568 (8th Cir. 2008) (same).

     Monroy also asks for appointment of counsel.                   However, a

defendant has no Sixth Amendment right to counsel in a § 3582(c)

proceeding.   United States v. Brown, 565 F.3d 1093, 1094 (8th Cir.

2009).      The   court   declines     to   appoint    counsel,      given     the

straightforward nature of the issue.

     Accordingly, based on the above, IT IS HEREBY ORDERED that:

     1.     The motion to reduce sentence pursuant to 18 U.S.C.

§ 3582(c) [ECF No. 912] is denied; and

     2.     The motion to appoint counsel [ECF No. 903] is denied.


Dated:    December 14, 2015


                                            s/David S. Doty
                                            David S. Doty, Judge
                                            United States District Court




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